                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 1 of 18 Page ID #:2310



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                                                                                                                  7
                                                                                                                      Attorneys for Plaintiffs
                                                                                                                  8   Western Riverside Council of Governments
                                                                                                                      and City of Beaumont
                                                                                                                  9
                                                                                                                 10                       UNITED STATES DISTRICT COURT
                                                                                                                 11                      CENTRAL DISTRICT OF CALIFORNIA
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                                 12
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                                 13   WESTERN RIVERSIDE COUNCIL OF               Case No. 5:20-cv-02164- GW (KKx)
                                                                                                                      GOVERNMENTS, a California Joint
                                                                                                                 14   Powers Authority; CITY OF                  PLAINTIFFS WESTERN
                                                                                                                      BEAUMONT, a public entity in the           RIVERSIDE COUNCIL OF
                                                                                                                 15   State of California,                       GOVERNMENTS AND CITY OF
                                                                                                                                                                 BEAUMONT’S REQUEST FOR
                                                                                                                 16                 Plaintiff,                   EVIDENTIARY RULING ON
                                                                                                                                                                 SPECIFIED OBJECTIONS TO
                                                                                                                 17        v.                                    THE DECLARATION OF
                                                                                                                                                                 JUDITH BINGHAM
                                                                                                                 18   NATIONAL UNION FIRE
                                                                                                                      INSURANCE COMPANY OF
                                                                                                                 19   PITTSBURGH, PA, and DOES 1
                                                                                                                      through 50, inclusive,                     Date:          August 1, 2022
                                                                                                                 20                                              Time:          8:30 a.m.
                                                                                                                                    Defendants.                  Courtroom:     9D
                                                                                                                 21
                                                                                                                 22
                                                                                                                 23
                                                                                                                 24
                                                                                                                 25
                                                                                                                 26
                                                                                                                 27
                                                                                                                 28
                                                                                                                                                                                 5:20-CV-02164- GW (KKX)
                                                                                                                                                          -1-          REQUEST FOR EVIDENTIARY RULING
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 2 of 18 Page ID #:2311



                                                                                                                  1         EVIDENTIARY OBJECTIONS TO THE OPPOSITION TO MOTION
                                                                                                                  2                           FOR SUMMARY JUDGMENT
                                                                                                                  3         Plaintiffs WESTERN RIVERSIDE COUNCIL OF GOVERNMENTS and
                                                                                                                  4   CITY OF BEAUMONT (“Plaintiffs”) hereby submit the following evidentiary
                                                                                                                  5   objections to the Declaration of Judith Bingham (ECF No. 49-5) filed in Support of
                                                                                                                  6   the Motion for Summary Judgment brought by Defendant National Union Fire
                                                                                                                  7   Insurance Company of Pittsburgh, PA (“Defendant”).
                                                                                                                  8                 GENERAL AND PRELIMINARY OBJECTIONS
                                                                                                                  9   Obj.   Material Objected To           Grounds for Objection       Ruling on the
                                                                                                                 10    No.                                                                Objection
                                                                                                                      1    Declaration of Judith           Improper Opinion            Sustained:
                                                                                                                 11                                        Testimony (FRE 701-
                                                                                                                           Bingham (hereinafter            703);                       Overruled:
                                             18101 VON KARMAN AVENUE, SUITE 1000
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                                                                                                                 12        “Bingham Decl.”)
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                           Bingham Decl., ECF NO.          Lack of Personal
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                                                                                                                 13                                        Knowledge/Foundation
                                                                                                                           49-5:                           (FRE 602, 901);
                                                                                                                 14
                                                                                                                              “In approximately August     Speculative Lay
                                                                                                                 15                                        Testimony (FRE 701;
                                                                                                                              2004, I assisted in the      see United States v.
                                                                                                                 16           creation of a website at     Freemand, 498 F.3d 893,
                                                                                                                              www.bcrg.org (‘BRCG          905 (9th Cir. 2007));
                                                                                                                 17
                                                                                                                              website’) containing         Constitutes a Legal
                                                                                                                 18           information about the City   Conclusion (FRE 704;
                                                                                                                              of Beaumont’s retention of   see United States v.
                                                                                                                 19                                        Boulware, 558 F.3d 971
                                                                                                                              ULC and the ULC              (9th Cir. 2009);
                                                                                                                 20           principals, and the ULC
                                                                                                                              Principals’ conflict of      Hearsay (FRE 805, 801-
                                                                                                                 21                                        802);
                                                                                                                              interest that violated
                                                                                                                 22           Government Code Section      Incomplete Evidence
                                                                                                                              1090. I have added and       (FRE 106);
                                                                                                                 23
                                                                                                                              updated information on the
                                                                                                                 24           BCRG website over time.
                                                                                                                              The BCRG website still
                                                                                                                 25
                                                                                                                              exists today. The
                                                                                                                 26           statements made on the
                                                                                                                 27           BCRG website are based
                                                                                                                              on my thorough review of
                                                                                                                 28           public documents and
                                                                                                                                                                                   5:20-CV-02164- GW (KKX)
                                                                                                                                                             -2-         REQUEST FOR EVIDENTIARY RULING
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 3 of 18 Page ID #:2312



                                                                                                                  1   Obj.     Material Objected To       Grounds for Objection       Ruling on the
                                                                                                                  2   No.                                                              Objection
                                                                                                                             information I obtained     Requirement of the
                                                                                                                  3                                     Original (FRE 1002);
                                                                                                                             from the City pursuant to  (see United States v.
                                                                                                                  4          public records’ requests   Bennett, 363 F.3d 947,
                                                                                                                             and from information I     953-54 (9th Cir.
                                                                                                                  5                                     2004)(holding that
                                                                                                                             compiled, reviewed and     testimony offered to
                                                                                                                  6          analyzed by a consulting   prove the content of
                                                                                                                             firm I retained to analyze data—or a printout or
                                                                                                                  7                                     other representations of
                                                                                                                             City documents related to  such data—is barred by
                                                                                                                  8          the contracts entered into the best evidence rule.);
                                                                                                                             between ULC and the City.  see also U.S. v. Rivera-
                                                                                                                  9                                     Carrizosa, 35 F.3d 573, 2
                                                                                                                                                        (9th Cir. 1994) (holding
                                                                                                                 10          (Bingham Decl. ECF NO. that an agent’s testimony
                                                                                                                             49-5, at ECF 49-5 pp.43-44 regarding the content of a
                                                                                                                 11                                     birth certificate violated
                                                                                                                             lines 22-27 and 1-6 (¶5))  the “best evidence” rule
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                                                        [Fed.R.Evid. 1002],
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                                                                                                                 12
                                                                                                                                                        which states that “[t]o
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                                 13                                     prove the content of a
                                                                                                                                                        writing … the original
                                                                                                                 14                                     writing … is required,
                                                                                                                                                        except as provided in
                                                                                                                 15                                     these rules or by Act of
                                                                                                                                                        Congress.”).
                                                                                                                 16
                                                                                                                      2      Bingham Decl., ECF NO.       Improper Opinion           Sustained:
                                                                                                                 17                                       Testimony (FRE 701-
                                                                                                                             49-5:                        703);                      Overruled:
                                                                                                                 18
                                                                                                                             “In September 2010, the      Lack of Personal
                                                                                                                 19                                       Knowledge/Foundation
                                                                                                                             BCRG contained the           (FRE 602, 901);
                                                                                                                 20          following information:
                                                                                                                             [screen shot omitted]”       Speculative Lay
                                                                                                                 21                                       Testimony (FRE 701;
                                                                                                                                                          see United States v.
                                                                                                                 22          (Bingham Decl. ECF NO.       Freemand, 498 F.3d 893,
                                                                                                                             49-5, at ECF 49-5 p. 44      905 (9th Cir. 2007));
                                                                                                                 23          lines 7-16 (¶6)).            Constitutes a Legal
                                                                                                                 24                                       Conclusion (FRE 704;
                                                                                                                                                          see United States v.
                                                                                                                 25                                       Boulware, 558 F.3d 971
                                                                                                                                                          (9th Cir. 2009);
                                                                                                                 26
                                                                                                                                                          Hearsay (FRE 805, 801-
                                                                                                                 27                                       802);
                                                                                                                 28
                                                                                                                                                                                 5:20-CV-02164- GW (KKX)
                                                                                                                                                           -3-         REQUEST FOR EVIDENTIARY RULING
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 4 of 18 Page ID #:2313



                                                                                                                  1   Obj.     Material Objected To        Grounds for Objection         Ruling on the
                                                                                                                  2   No.                                                                 Objection
                                                                                                                                                           Incomplete Evidence
                                                                                                                  3                                        (FRE 106);
                                                                                                                  4                                        Requirement of the
                                                                                                                                                           Original (FRE 1002);
                                                                                                                  5                                        (see United States v.
                                                                                                                                                           Bennett, 363 F.3d 947,
                                                                                                                  6                                        953-54 (9th Cir.
                                                                                                                                                           2004)(holding that
                                                                                                                  7                                        testimony offered to
                                                                                                                                                           prove the content of
                                                                                                                  8                                        data—or a printout or
                                                                                                                                                           other representations of
                                                                                                                  9                                        such data—is barred by
                                                                                                                                                           the best evidence rule.);
                                                                                                                 10                                        see also U.S. v. Rivera-
                                                                                                                                                           Carrizosa, 35 F.3d 573, 2
                                                                                                                 11                                        (9th Cir. 1994) (holding
                                                                                                                                                           that an agent’s testimony
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                                                           regarding the content of a
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                                                                                                                 12
                                                                                                                                                           birth certificate violated
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                                 13                                        the “best evidence” rule
                                                                                                                                                           [Fed.R.Evid. 1002],
                                                                                                                 14                                        which states that “[t]o
                                                                                                                                                           prove the content of a
                                                                                                                 15                                        writing … the original
                                                                                                                                                           writing … is required,
                                                                                                                 16                                        except as provided in
                                                                                                                                                           these rules or by Act of
                                                                                                                 17                                        Congress.”).
                                                                                                                 18   3      Bingham Decl., ECF NO.        Improper Opinion             Sustained:
                                                                                                                                                           Testimony (FRE 701-
                                                                                                                             49-5:                         703);
                                                                                                                 19                                                                     Overruled:
                                                                                                                 20          “I have reviewed printouts    Lack of Personal
                                                                                                                                                           Knowledge/Foundation
                                                                                                                 21          of the BCRG website,          (FRE 602, 901);
                                                                                                                             dated September 10, 2010,
                                                                                                                 22          attached here as Exhibit A.   Constitutes a Legal
                                                                                                                                                           Conclusion. (FRE 704;
                                                                                                                 23          As a founding member of       see United States v.
                                                                                                                             BCRG and a creator of the     Boulware, 558 F.3d 971
                                                                                                                 24          BCRG website, I am            (9th Cir. 2009);
                                                                                                                 25          familiar with the BCRG        Hearsay (FRE 805, 801-
                                                                                                                             website. Based on my          802);
                                                                                                                 26          knowledge and memory of
                                                                                                                                                           Incomplete Evidence
                                                                                                                 27          the website, the printouts    (FRE 106);
                                                                                                                             contained in Exhibit A are
                                                                                                                 28          a fair and accurate
                                                                                                                                                                                   5:20-CV-02164- GW (KKX)
                                                                                                                                                             -4-         REQUEST FOR EVIDENTIARY RULING
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 5 of 18 Page ID #:2314



                                                                                                                  1   Obj.     Material Objected To        Grounds for Objection       Ruling on the
                                                                                                                  2   No.                                                               Objection
                                                                                                                             representation of the     Requirement of the
                                                                                                                  3                                    Original (FRE 1002);
                                                                                                                             BCRG website in           (see United States v.
                                                                                                                  4          September 2010.”          Bennett, 363 F.3d 947,
                                                                                                                                                       953-54 (9th Cir.
                                                                                                                  5                                    2004)(holding that
                                                                                                                             Bingham Decl. ECF NO.     testimony offered to
                                                                                                                  6          49-5, at ECF 49-5 p. 44   prove the content of
                                                                                                                             lines 17-21 (¶7); and     data—or a printout or
                                                                                                                  7                                    other representations of
                                                                                                                             Bingham Decl. Exhibit A, such data—is barred by
                                                                                                                  8          ECF No. 49-5, at ECF 49-5 the best evidence rule.);
                                                                                                                             pp. 51-58).               see also U.S. v. Rivera-
                                                                                                                  9                                    Carrizosa, 35 F.3d 573, 2
                                                                                                                                                       (9th Cir. 1994) (holding
                                                                                                                 10                                    that an agent’s testimony
                                                                                                                                                       regarding the content of a
                                                                                                                 11                                    birth certificate violated
                                                                                                                                                       the “best evidence” rule
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                                                       [Fed.R.Evid. 1002],
BEST BEST & KRIEGER LLP




                                                                                                                 12
                                                                                                                                                       which states that “[t]o
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                                 13                                    prove the content of a
                                                                                                                                                       writing … the original
                                                                                                                 14                                    writing … is required,
                                                                                                                                                       except as provided in
                                                                                                                 15                                    these rules or by Act of
                                                                                                                                                       Congress.”).
                                                                                                                 16
                                                                                                                      4      Bingham Decl., ECF NO.        Improper Opinion           Sustained:
                                                                                                                 17                                        Testimony (FRE 701-
                                                                                                                             49-5:                         703);                      Overruled:
                                                                                                                 18
                                                                                                                             “From 2005 until              Lack of Personal
                                                                                                                 19                                        Knowledge/Foundation
                                                                                                                             approximately December        (FRE 602, 901);
                                                                                                                 20          2007 and from January
                                                                                                                             2010 through 2011, I          Speculative Lay
                                                                                                                 21                                        Testimony (FRE 701;
                                                                                                                             attended nearly every         see United States v.
                                                                                                                 22          Beaumont City Council         Freemand, 498 F.3d 893,
                                                                                                                             meeting. During this time,    905 (9th Cir. 2007));
                                                                                                                 23          and later, I repeatedly       Constitutes a Legal
                                                                                                                 24          voiced my concerns to the     Conclusion (FRE 704;
                                                                                                                             City Council regarding the    see United States v.
                                                                                                                 25                                        Boulware, 558 F.3d 971
                                                                                                                             City of Beaumont’s            (9th Cir. 2009);
                                                                                                                 26          retention of ULC and the
                                                                                                                             ULC Principals’ conflict of   Hearsay (FRE 805, 801-
                                                                                                                 27                                        802);
                                                                                                                             interest. Prior to 2011, I
                                                                                                                 28          told the City Council that
                                                                                                                                                                                  5:20-CV-02164- GW (KKX)
                                                                                                                                                            -5-         REQUEST FOR EVIDENTIARY RULING
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 6 of 18 Page ID #:2315



                                                                                                                  1   Obj.     Material Objected To         Grounds for Objection       Ruling on the
                                                                                                                  2   No.                                                                Objection
                                                                                                                             the retention of ULC and       Incomplete Evidence
                                                                                                                  3                                         (FRE 106);
                                                                                                                             the ULC Principals’
                                                                                                                  4          actions as city officials      Irrelevant (FRE 401-
                                                                                                                             violated Government Code       402).
                                                                                                                  5          Section 1090 because the
                                                                                                                  6          ULC Principals, in their
                                                                                                                             official capacity,
                                                                                                                  7          participated in coordinating
                                                                                                                  8          and planning construction
                                                                                                                             projects for the City and
                                                                                                                  9          then made
                                                                                                                 10          recommendations to the
                                                                                                                             City Council that their
                                                                                                                 11          company (ULC) supervise
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                             those projects on behalf of
BEST BEST & KRIEGER LLP




                                                                                                                 12
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                             the City for a fee. The City
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                                                                                                                 13          Council awarded work to
                                                                                                                 14          ULC and paid ULC based
                                                                                                                             on the reocmmendations
                                                                                                                 15          the ULC Principals made
                                                                                                                 16          to City Council in their
                                                                                                                             official capacity.
                                                                                                                 17
                                                                                                                 18          (Bingham Decl. ECF NO.
                                                                                                                             49-5, at ECF 49-5 pp. 44-
                                                                                                                 19          45 lines 22-27 and 1-6
                                                                                                                 20          (¶8).
                                                                                                                      5      Bingham Decl., ECF NO.         Improper Opinion           Sustained:
                                                                                                                 21                                         Testimony (FRE 701-
                                                                                                                             49-5:                          703);
                                                                                                                 22                                                                    Overruled:
                                                                                                                             “As reflected in the           Lack of Foundation
                                                                                                                 23                                         (FRE 901)
                                                                                                                             Beaumont City Council
                                                                                                                 24          meeting Minutes, on            Constitutes a Legal
                                                                                                                             September 6, 2005, I           Conclusion (FRE 704;
                                                                                                                 25                                         see United States v.
                                                                                                                             advised the City Council       Boulware, 558 F.3d 971
                                                                                                                 26          that the ULC Principals        (9th Cir. 2009);
                                                                                                                             were acting in their own
                                                                                                                 27                                         Hearsay (FRE 805, 801-
                                                                                                                             self-interest. (See Minutes    802);
                                                                                                                 28          for Beaumont City
                                                                                                                                                                                   5:20-CV-02164- GW (KKX)
                                                                                                                                                             -6-         REQUEST FOR EVIDENTIARY RULING
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 7 of 18 Page ID #:2316



                                                                                                                  1   Obj.     Material Objected To       Grounds for Objection         Ruling on the
                                                                                                                  2   No.                                                                Objection
                                                                                                                             Council, dated September     Incomplete Evidence
                                                                                                                  3                                       (FRE 106);
                                                                                                                             6, 2005, attached here as
                                                                                                                  4          Exhibit B, at pg. 3.)”       Irrelevant (FRE 401-
                                                                                                                                                          402);
                                                                                                                  5          (Bingham Decl. ECF NO.       Requirement of the
                                                                                                                  6          49-5, at ECF 49-5 p. 45      Original (FRE 1002);
                                                                                                                             lines 7-10 (¶9)).            (see United States v.
                                                                                                                  7                                       Bennett, 363 F.3d 947,
                                                                                                                                                          953-54 (9th Cir.
                                                                                                                  8                                       2004)(holding that
                                                                                                                                                          testimony offered to
                                                                                                                  9                                       prove the content of
                                                                                                                                                          data—or a printout or
                                                                                                                 10                                       other representations of
                                                                                                                                                          such data—is barred by
                                                                                                                 11                                       the best evidence rule.);
                                                                                                                                                          see also U.S. v. Rivera-
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                                                          Carrizosa, 35 F.3d 573, 2
BEST BEST & KRIEGER LLP




                                                                                                                 12
                                                                                                                                                          (9th Cir. 1994) (holding
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                                 13                                       that an agent’s testimony
                                                                                                                                                          regarding the content of a
                                                                                                                 14                                       birth certificate violated
                                                                                                                                                          the “best evidence” rule
                                                                                                                 15                                       [Fed.R.Evid. 1002],
                                                                                                                                                          which states that “[t]o
                                                                                                                 16                                       prove the content of a
                                                                                                                                                          writing … the original
                                                                                                                 17                                       writing … is required,
                                                                                                                                                          except as provided in
                                                                                                                 18                                       these rules or by Act of
                                                                                                                                                          Congress.”).
                                                                                                                 19
                                                                                                                      6      Bingham Decl., ECF NO.       Improper Opinion             Sustained:
                                                                                                                 20                                       Testimony (FRE 701-
                                                                                                                             49-5:                        703);                        Overruled:
                                                                                                                 21
                                                                                                                             “As reflected in the         Lack of Foundation
                                                                                                                 22                                       (FRE 901)
                                                                                                                             Beaumont City Council
                                                                                                                 23          meeting Minutes, I raised    Constitutes a Legal
                                                                                                                             concerns regarding ULC’s     Conclusion (FRE 704;
                                                                                                                 24                                       see United States v.
                                                                                                                             contract with the City and   Boulware, 558 F.3d 971
                                                                                                                 25          the ULC Principals’          (9th Cir. 2009);
                                                                                                                             conflict of interest on
                                                                                                                 26                                       Hearsay (FRE 805, 801-
                                                                                                                             August 21, 2007; October     802);
                                                                                                                 27          2, 2007; August 17, 2010;
                                                                                                                             October 5, 2010; October
                                                                                                                 28
                                                                                                                                                                                  5:20-CV-02164- GW (KKX)
                                                                                                                                                            -7-         REQUEST FOR EVIDENTIARY RULING
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 8 of 18 Page ID #:2317



                                                                                                                  1   Obj.     Material Objected To          Grounds for Objection         Ruling on the
                                                                                                                  2   No.                                                                   Objection
                                                                                                                             19, 2010; November 16,          Irrelevant (FRE 401-
                                                                                                                  3                                          402);
                                                                                                                             2010; April 5, 2011; May
                                                                                                                  4          3, 2011; May 17, 2011;          Requirement of the
                                                                                                                             June 7, 2011; November 1,       Original (FRE 1002);
                                                                                                                  5                                          (see United States v.
                                                                                                                             2011; August 21, 2012;          Bennett, 363 F.3d 947,
                                                                                                                  6          December 4, 2012;               953-54 (9th Cir.
                                                                                                                             September 3, 2013;              2004)(holding that
                                                                                                                  7                                          testimony offered to
                                                                                                                             February 4, 2014; and June      prove the content of
                                                                                                                  8          3, 2014. (See Minutes for       data—or a printout or
                                                                                                                             Beaumont City Council,          other representations of
                                                                                                                  9                                          such data—is barred by
                                                                                                                             multiple dates, attached        the best evidence rule.);
                                                                                                                 10          here as Group Exhibit C.”       see also U.S. v. Rivera-
                                                                                                                                                             Carrizosa, 35 F.3d 573, 2
                                                                                                                 11                                          (9th Cir. 1994) (holding
                                                                                                                             (Bingham Decl. ECF NO.          that an agent’s testimony
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                             49-5, at ECF 49-5 p. 45         regarding the content of a
BEST BEST & KRIEGER LLP




                                                                                                                 12
                                                                                                                                                             birth certificate violated
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                             lines 11-17 (¶10)).
                          ATTORNEYS AT LAW




                                                                                                                 13                                          the “best evidence” rule
                                                                                                                                                             [Fed.R.Evid. 1002],
                                                                                                                 14                                          which states that “[t]o
                                                                                                                                                             prove the content of a
                                                                                                                 15                                          writing … the original
                                                                                                                                                             writing … is required,
                                                                                                                 16                                          except as provided in
                                                                                                                                                             these rules or by Act of
                                                                                                                 17                                          Congress.”).
                                                                                                                 18   7      Bingham Decl., ECF NO.          Improper Opinion             Sustained:
                                                                                                                                                             Testimony (FRE 701-
                                                                                                                             49-5:                           703);
                                                                                                                 19                                                                       Overruled:
                                                                                                                 20          “On or about November 6,        Lack of Foundation
                                                                                                                                                             (FRE 901)
                                                                                                                 21          2007, I spoke at a City
                                                                                                                             Council meeting and             Constitutes a Legal
                                                                                                                 22          advised the City Council        Conclusion (FRE 704;
                                                                                                                                                             see United States v.
                                                                                                                 23          that the retention of ULC       Boulware, 558 F.3d 971
                                                                                                                             created a conflict because      (9th Cir. 2009);
                                                                                                                 24          it allowed the ULC
                                                                                                                                                             Irrelevant (FRE 401-
                                                                                                                 25          Principals to direct work to    402);
                                                                                                                             ULC in their capacity as
                                                                                                                 26          city officials, supervise and   Hearsay (FRE 805, 801-
                                                                                                                                                             802).
                                                                                                                 27          inspect ULC’s work in
                                                                                                                             their capacity as city
                                                                                                                 28          officials, and financially
                                                                                                                                                                                     5:20-CV-02164- GW (KKX)
                                                                                                                                                               -8-         REQUEST FOR EVIDENTIARY RULING
                                                                                                              Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 9 of 18 Page ID #:2318



                                                                                                                  1   Obj.     Material Objected To           Grounds for Objection       Ruling on the
                                                                                                                  2   No.                                                                  Objection
                                                                                                                             benefit from the work
                                                                                                                  3          awarded to ULC. At that
                                                                                                                  4          meeting, I told the City
                                                                                                                             Council that the retention
                                                                                                                  5          of ULC violated
                                                                                                                  6          Government Code Section
                                                                                                                             1090.”
                                                                                                                  7
                                                                                                                  8          (Bingham Decl. ECF NO.
                                                                                                                             49-5, at ECF 49-5 p. 45
                                                                                                                  9          lines 18-23 (¶11)).
                                                                                                                 10   8      Bingham Decl., ECF NO.           Improper Opinion           Sustained:
                                                                                                                                                              Testimony (FRE 701-
                                                                                                                             49-5:                            703);
                                                                                                                 11                                                                      Overruled:
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                             “Despite my appearances          Lack of Foundation
BEST BEST & KRIEGER LLP




                                                                                                                 12                                           (FRE 901)
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                             before the City Council
                          ATTORNEYS AT LAW




                                                                                                                 13          and explanation that the         Constitutes a Legal
                                                                                                                 14          ULC Principals had a             Conclusion (FRE 704;
                                                                                                                                                              see United States v.
                                                                                                                             conflict of interest, the City   Boulware, 558 F.3d 971
                                                                                                                 15          Council continued                (9th Cir. 2009);
                                                                                                                 16          retaining ULC and
                                                                                                                                                              Irrelevant (FRE 401-
                                                                                                                             allowing the ULC                 402);
                                                                                                                 17          Principals to direct work to
                                                                                                                 18          ULC and supervise ULC’s          Hearsay (FRE 805, 801-
                                                                                                                                                              802).
                                                                                                                             work while acting in an
                                                                                                                 19
                                                                                                                             official capacity for the
                                                                                                                 20          City of Beaumont.”
                                                                                                                 21
                                                                                                                             (Bingham Decl. ECF NO.
                                                                                                                 22          49-5, at ECF 49-5 p. 45
                                                                                                                             lines 24-27 (¶12)).
                                                                                                                 23                                           Improper Opinion
                                                                                                                      9      Bingham Decl., ECF NO.                                      Sustained:
                                                                                                                 24                                           Testimony (FRE 701-
                                                                                                                             49-5:                            703);                      Overruled:
                                                                                                                 25                                           Lack of Foundation
                                                                                                                             “On or about September 1,
                                                                                                                 26                                           (FRE 901);
                                                                                                                             2010, BCRG launched the
                                                                                                                             website at
                                                                                                                 27
                                                                                                                             wwww.beaumontgate.org
                                                                                                                 28          [sic] (‘BeaumontGate
                                                                                                                                                                                     5:20-CV-02164- GW (KKX)
                                                                                                                                                               -9-         REQUEST FOR EVIDENTIARY RULING
                                                                                                    Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 10 of 18 Page ID #:2319



                                                                                                               1   Obj.     Material Objected To         Grounds for Objection         Ruling on the
                                                                                                               2   No.                                                                  Objection
                                                                                                                          website’). I have added and    Speculative Lay
                                                                                                               3                                         Testimony (FRE 701;
                                                                                                                          updated information on the     see United States v.
                                                                                                               4          BeaumontGate website           Freemand, 498 F.3d 893,
                                                                                                                          over time. The                 905 (9th Cir. 2007));
                                                                                                               5          BeaumontGate website still     Constitutes a Legal
                                                                                                               6          exists today. The              Conclusion (FRE 704;
                                                                                                                          statements made on the…        see United States v.
                                                                                                               7                                         Boulware, 558 F.3d 971
                                                                                                                          website are based on my        (9th Cir. 2009);
                                                                                                               8          thorough review of public
                                                                                                                          documents and information      Hearsay (FRE 805, 801-
                                                                                                               9                                         802);
                                                                                                                          I obtained from the City
                                                                                                              10          pursuant to public records’    Incomplete Evidence
                                                                                                                          requests and from              (FRE 106);
                                                                                                              11          information compiled,          Irrelevant (FRE 401-
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                          reviewed and analyzed by       402);Requirement of the
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                                                                                         Original (FRE 1002);
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                          a consulting firm I retained
                          ATTORNEYS AT LAW




                                                                                                              13                                         (see United States v.
                                                                                                                          to analyze City documents      Bennett, 363 F.3d 947,
                                                                                                              14          related to the contracts       953-54 (9th Cir.
                                                                                                                          entered into between ULC       2004)(holding that
                                                                                                              15                                         testimony offered to
                                                                                                                          and the City.”                 prove the content of
                                                                                                              16                                         data—or a printout or
                                                                                                                          (Bingham Decl. ECF NO.         other representations of
                                                                                                              17                                         such data—is barred by
                                                                                                                          49-5, at ECF 49-5 p. 46        the best evidence rule.);
                                                                                                              18          lines 1-8 (¶13)).              see also U.S. v. Rivera-
                                                                                                                                                         Carrizosa, 35 F.3d 573, 2
                                                                                                              19                                         (9th Cir. 1994) (holding
                                                                                                                                                         that an agent’s testimony
                                                                                                              20                                         regarding the content of a
                                                                                                                                                         birth certificate violated
                                                                                                              21                                         the “best evidence” rule
                                                                                                                                                         [Fed.R.Evid. 1002],
                                                                                                              22                                         which states that “[t]o
                                                                                                                                                         prove the content of a
                                                                                                              23                                         writing … the original
                                                                                                                                                         writing … is required,
                                                                                                              24                                         except as provided in
                                                                                                                                                         these rules or by Act of
                                                                                                              25                                         Congress.”).
                                                                                                              26   10     Bingham Decl., ECF NO.         Improper Opinion             Sustained:
                                                                                                                                                         Testimony (FRE 701-
                                                                                                                          49-5:                          703);
                                                                                                              27                                                                      Overruled:
                                                                                                              28
                                                                                                                                                                                 5:20-CV-02164- GW (KKX)
                                                                                                                                                          - 10 -       REQUEST FOR EVIDENTIARY RULING
                                                                                                    Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 11 of 18 Page ID #:2320



                                                                                                               1   Obj.     Material Objected To       Grounds for Objection         Ruling on the
                                                                                                               2   No.                                                                Objection
                                                                                                                          “In September 2010 the       Lack of Personal
                                                                                                               3                                       Knowledge/Foundation
                                                                                                                          BeaumontGate website         (FRE 602, 901);
                                                                                                               4          contained the following
                                                                                                                          information: [screenshot     Constitutes a Legal
                                                                                                               5                                       Conclusion (FRE 704;
                                                                                                                          omitted] (See printout of    see United States v.
                                                                                                               6          BeaumontGate website,        Boulware, 558 F.3d 971
                                                                                                                          dated September 10, 2010,    (9th Cir. 2009);
                                                                                                               7          attached here as Exhibit     Hearsay (FRE 805, 801-
                                                                                                               8          D.) The BeaumontGate         802);
                                                                                                                          website also contained the
                                                                                                               9                                       Incomplete Evidence
                                                                                                                          following information in     (FRE 106);
                                                                                                              10          2010: [screenshot omitted]
                                                                                                                          (See Exhibit D.)”            Irrelevant (FRE 401-
                                                                                                              11                                       402);
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                          (Bingham Decl. ECF NO.       Requirement of the
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                                                                                       Original (FRE 1002);
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                          49-5, at ECF 49-5 pp. 46-
                          ATTORNEYS AT LAW




                                                                                                              13                                       (see United States v.
                                                                                                                          47 lines 9-26 and 1-15       Bennett, 363 F.3d 947,
                                                                                                              14          (¶14); and Bingham Decl.     953-54 (9th Cir.
                                                                                                                          Exhibit D, ECF NO. 49-5,     2004)(holding that
                                                                                                              15                                       testimony offered to
                                                                                                                          at ECF 49-5 pp. 143-154).    prove the content of
                                                                                                              16                                       data—or a printout or
                                                                                                                                                       other representations of
                                                                                                              17                                       such data—is barred by
                                                                                                                                                       the best evidence rule.);
                                                                                                              18                                       see also U.S. v. Rivera-
                                                                                                                                                       Carrizosa, 35 F.3d 573, 2
                                                                                                              19                                       (9th Cir. 1994) (holding
                                                                                                                                                       that an agent’s testimony
                                                                                                              20                                       regarding the content of a
                                                                                                                                                       birth certificate violated
                                                                                                              21                                       the “best evidence” rule
                                                                                                                                                       [Fed.R.Evid. 1002],
                                                                                                              22                                       which states that “[t]o
                                                                                                                                                       prove the content of a
                                                                                                              23                                       writing … the original
                                                                                                                                                       writing … is required,
                                                                                                              24                                       except as provided in
                                                                                                                                                       these rules or by Act of
                                                                                                              25                                       Congress.”).
                                                                                                              26   11     Bingham Decl., ECF NO.       Improper Opinion             Sustained:
                                                                                                                                                       Testimony (FRE 701-
                                                                                                                          49-5:                        703);
                                                                                                              27                                                                    Overruled:
                                                                                                              28
                                                                                                                                                                               5:20-CV-02164- GW (KKX)
                                                                                                                                                        - 11 -       REQUEST FOR EVIDENTIARY RULING
                                                                                                    Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 12 of 18 Page ID #:2321



                                                                                                               1   Obj.     Material Objected To       Grounds for Objection         Ruling on the
                                                                                                               2   No.                                                                Objection
                                                                                                                          “I have reviewed printouts   Lack of Foundation
                                                                                                               3                                       (FRE 901);
                                                                                                                          of the BeaumontGate
                                                                                                               4          website, dated September     Constitutes a Legal
                                                                                                                          10, 2010, attached here as   Conclusion (FRE 704;
                                                                                                               5                                       see United States v.
                                                                                                                          Exhibit D. As a creator of   Boulware, 558 F.3d 971
                                                                                                               6          the BeaumontGate website,    (9th Cir. 2009);
                                                                                                                          I am familiar with the
                                                                                                               7                                       Irrelevant (FRE 401-
                                                                                                                          website. Based on my         402);
                                                                                                               8          knowledge and memory of
                                                                                                                          the BeamontGate website,     Hearsay (FRE 805, 801-
                                                                                                               9                                       802);
                                                                                                                          the printouts contained in
                                                                                                              10          Exhibit D are a fair and     Incomplete Evidence
                                                                                                                          accurate representation of   (FRE 106);
                                                                                                              11          the BeaumontGate website     Requirement of the
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                          in September 2010.”          Original (FRE 1002);
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                                                                                       (see United States v.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13                                       Bennett, 363 F.3d 947,
                                                                                                                          (Bingham Decl. ECF NO.       953-54 (9th Cir.
                                                                                                              14          49-5, at ECF 49-5 p. 47      2004)(holding that
                                                                                                                          lines 16-20 (¶15); and       testimony offered to
                                                                                                              15                                       prove the content of
                                                                                                                          Bingham Decl. Exhibit D,     data—or a printout or
                                                                                                              16          ECF NO. 49-5, at ECF 49-     other representations of
                                                                                                                          5 pp. 143-154).              such data—is barred by
                                                                                                              17                                       the best evidence rule.);
                                                                                                                                                       see also U.S. v. Rivera-
                                                                                                              18                                       Carrizosa, 35 F.3d 573, 2
                                                                                                                                                       (9th Cir. 1994) (holding
                                                                                                              19                                       that an agent’s testimony
                                                                                                                                                       regarding the content of a
                                                                                                              20                                       birth certificate violated
                                                                                                                                                       the “best evidence” rule
                                                                                                              21                                       [Fed.R.Evid. 1002],
                                                                                                                                                       which states that “[t]o
                                                                                                              22                                       prove the content of a
                                                                                                                                                       writing … the original
                                                                                                              23                                       writing … is required,
                                                                                                                                                       except as provided in
                                                                                                              24                                       these rules or by Act of
                                                                                                                                                       Congress.”).
                                                                                                              25
                                                                                                                   12     Bingham Decl., ECF NO.       Irrelevant (FRE 401-         Sustained:
                                                                                                              26                                       402);
                                                                                                                          49-5:
                                                                                                                                                       Hearsay (FRE 805, 801-       Overruled:
                                                                                                              27
                                                                                                                                                       802).
                                                                                                              28
                                                                                                                                                                               5:20-CV-02164- GW (KKX)
                                                                                                                                                        - 12 -       REQUEST FOR EVIDENTIARY RULING
                                                                                                    Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 13 of 18 Page ID #:2322



                                                                                                               1   Obj.     Material Objected To       Grounds for Objection       Ruling on the
                                                                                                               2   No.                                                              Objection
                                                                                                                          “On or about October 7,
                                                                                                               3          2020, Urban Logic
                                                                                                               4          Consultants, Mr. Moorjani,
                                                                                                                          Mr. Egger, and MR. Dillon
                                                                                                               5          (‘ULC Plaintiffs’) filed a
                                                                                                               6          lawsuit against Beaumont
                                                                                                                          Citizens for Responsible
                                                                                                               7          Growth, Mary Daniel,
                                                                                                               8          Nancy Hall and me (‘the
                                                                                                                          ULC defamation lawsuit’),
                                                                                                               9          alleging trade libel and
                                                                                                              10          defamation relating to
                                                                                                                          statements posted on the
                                                                                                              11          BeaumontGate website.”
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                          (Bingham Decl. ECF NO.
                          ATTORNEYS AT LAW




                                                                                                              13          49-5, at ECF 49-5 p. 47
                                                                                                              14          lines 21-25 (¶16)).
                                                                                                                   13     Bingham Decl., ECF NO.       Lack of Foundation         Sustained:
                                                                                                              15                                       (FRE 901);
                                                                                                                          49-5:
                                                                                                              16                                     Irrelevant (FRE 401-         Overruled:
                                                                                                                          “On February 15, 2011, the 402);
                                                                                                              17          court granted defendants’  Hearsay (FRE 805, 801-
                                                                                                              18          motion to strike the ULC   802).
                                                                                                                          Plaintiffs’ complaint.”
                                                                                                              19
                                                                                                              20          (Bingham Decl. ECF NO.
                                                                                                                          49-5, at ECF 49-5 p. 47
                                                                                                              21
                                                                                                                          lines 26-27 (¶17)).
                                                                                                              22   14     Bingham Decl., ECF NO.       Lack of Foundation         Sustained:
                                                                                                                                                       (FRE 901);
                                                                                                                          49-5:
                                                                                                              23                                                                  Overruled:
                                                                                                                                                       Irrelevant (FRE 401-
                                                                                                              24          “On March 8, 2011, the       402);
                                                                                                                          court entered an order     Hearsay (FRE 805, 801-
                                                                                                              25
                                                                                                                          striking the complaint     802);
                                                                                                              26          without leave to amend and
                                                                                                                          entered judgment in favor
                                                                                                              27
                                                                                                                          of defendants and against
                                                                                                              28          the ULC Plaintiffs, with
                                                                                                                                                                              5:20-CV-02164- GW (KKX)
                                                                                                                                                        - 13 -      REQUEST FOR EVIDENTIARY RULING
                                                                                                    Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 14 of 18 Page ID #:2323



                                                                                                               1   Obj.     Material Objected To        Grounds for Objection         Ruling on the
                                                                                                               2   No.                                                                 Objection
                                                                                                                          defendants to recover their   Requirement of the
                                                                                                               3                                        Original (FRE 1002);
                                                                                                                          attorneys’ fees, expenses,    (see United States v.
                                                                                                               4          and costs.”                   Bennett, 363 F.3d 947,
                                                                                                                                                        953-54 (9th Cir.
                                                                                                               5                                        2004)(holding that
                                                                                                                          (Bingham Decl. ECF NO.        testimony offered to
                                                                                                               6          49-5, at ECF 49-5 p. 48       prove the content of
                                                                                                                          lines 1-4 (¶18)).             data—or a printout or
                                                                                                               7                                        other representations of
                                                                                                                                                        such data—is barred by
                                                                                                               8                                        the best evidence rule.);
                                                                                                                                                        see also U.S. v. Rivera-
                                                                                                               9                                        Carrizosa, 35 F.3d 573, 2
                                                                                                                                                        (9th Cir. 1994) (holding
                                                                                                              10                                        that an agent’s testimony
                                                                                                                                                        regarding the content of a
                                                                                                              11                                        birth certificate violated
                                                                                                                                                        the “best evidence” rule
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                                                        [Fed.R.Evid. 1002],
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                                                                                        which states that “[t]o
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13                                        prove the content of a
                                                                                                                                                        writing … the original
                                                                                                              14                                        writing … is required,
                                                                                                                                                        except as provided in
                                                                                                              15                                        these rules or by Act of
                                                                                                                                                        Congress.”).
                                                                                                              16
                                                                                                                   15     Bingham Decl., ECF NO.        Improper Opinion             Sustained:
                                                                                                              17                                        Testimony (FRE 701-
                                                                                                                          49-5:                         703);                        Overruled:
                                                                                                              18
                                                                                                                          “In March 2011, the           Lack of Personal
                                                                                                              19                                        Knowledge/Foundation
                                                                                                                          BeaumontGate website          (FRE 602, 901);
                                                                                                              20          contained the following
                                                                                                                          information regarding the     Constitutes a Legal
                                                                                                              21                                        Conclusion (FRE 704;
                                                                                                                          ULC Principals conflict of    see United States v.
                                                                                                              22          interest and violation of     Boulware, 558 F.3d 971
                                                                                                                          Government Code Section       (9th Cir. 2009);
                                                                                                              23          1090: [screenshot omitted]    Hearsay (FRE 805, 801-
                                                                                                              24          (See printout of              802);
                                                                                                                          BeaumontGate website,
                                                                                                              25                                        Incomplete Evidence
                                                                                                                          dated March 19, 2011,         (FRE 106);
                                                                                                              26          attached as Exhibit E.)”
                                                                                                                                                        Irrelevant (FRE 401-
                                                                                                              27                                        402);
                                                                                                                          (Bingham Decl. ECF NO.
                                                                                                              28          49-5, at ECF 49-5 pp. 48-
                                                                                                                                                                                5:20-CV-02164- GW (KKX)
                                                                                                                                                         - 14 -       REQUEST FOR EVIDENTIARY RULING
                                                                                                    Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 15 of 18 Page ID #:2324



                                                                                                               1   Obj.     Material Objected To       Grounds for Objection         Ruling on the
                                                                                                               2   No.                                                                Objection
                                                                                                                          49 lines 5-27 and 1-2        Requirement of the
                                                                                                               3                                       Original (FRE 1002);
                                                                                                                          (¶19); and Bingham Decl.     (see United States v.
                                                                                                               4          Exhibit E, ECF NO. 49-5,     Bennett, 363 F.3d 947,
                                                                                                                          at ECF 49-5 p. 155).         953-54 (9th Cir.
                                                                                                               5                                       2004)(holding that
                                                                                                                                                       testimony offered to
                                                                                                               6                                       prove the content of
                                                                                                                                                       data—or a printout or
                                                                                                               7                                       other representations of
                                                                                                                                                       such data—is barred by
                                                                                                               8                                       the best evidence rule.);
                                                                                                                                                       see also U.S. v. Rivera-
                                                                                                               9                                       Carrizosa, 35 F.3d 573, 2
                                                                                                                                                       (9th Cir. 1994) (holding
                                                                                                              10                                       that an agent’s testimony
                                                                                                                                                       regarding the content of a
                                                                                                              11                                       birth certificate violated
                                                                                                                                                       the “best evidence” rule
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                                                       [Fed.R.Evid. 1002],
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                                                                                       which states that “[t]o
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13                                       prove the content of a
                                                                                                                                                       writing … the original
                                                                                                              14                                       writing … is required,
                                                                                                                                                       except as provided in
                                                                                                              15                                       these rules or by Act of
                                                                                                                                                       Congress.”).
                                                                                                              16
                                                                                                                   16     Bingham Decl., ECF NO.       Improper Opinion             Sustained:
                                                                                                              17                                       Testimony (FRE 701-
                                                                                                                          49-5:                        703);                        Overruled:
                                                                                                              18
                                                                                                                          “I have reviewed printouts   Lack of Foundation
                                                                                                              19                                       (FRE 901);
                                                                                                                          of the BeaumontGate
                                                                                                              20          website, dated March 19,     Constitutes a Legal
                                                                                                                          2011 attached here as        Conclusion (FRE 704;
                                                                                                              21                                       see United States v.
                                                                                                                          Exhibit E. As a creator of   Boulware, 558 F.3d 971
                                                                                                              22          the BeaumontGate website,    (9th Cir. 2009);
                                                                                                                          I am familiar with the
                                                                                                              23                                       Hearsay (FRE 805, 801-
                                                                                                                          website. Based on my         802);
                                                                                                              24          knowledge and memory of
                                                                                                                          the BeaumontGate website,    Incomplete Evidence
                                                                                                              25                                       (FRE 106);
                                                                                                                          the printouts contained in
                                                                                                              26          Exhibit E are a fair and     Irrelevant (FRE 401-
                                                                                                                          accurate representation of   402);
                                                                                                              27          the BeaumontGate website
                                                                                                              28          in March 2011.”
                                                                                                                                                                               5:20-CV-02164- GW (KKX)
                                                                                                                                                        - 15 -       REQUEST FOR EVIDENTIARY RULING
                                                                                                    Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 16 of 18 Page ID #:2325



                                                                                                               1   Obj.     Material Objected To        Grounds for Objection         Ruling on the
                                                                                                               2   No.                                                                 Objection
                                                                                                                                                        Requirement of the
                                                                                                               3                                        Original (FRE 1002);
                                                                                                                          (Bingham Decl. ECF NO.        (see United States v.
                                                                                                               4          49-5, at ECF 49-5 p. 49       Bennett, 363 F.3d 947,
                                                                                                                          lines 3-7 (¶20); and          953-54 (9th Cir.
                                                                                                               5                                        2004)(holding that
                                                                                                                          Bingham Decl. Exhibit E,      testimony offered to
                                                                                                               6          ECF NO. 49-5, at ECF 49-      prove the content of
                                                                                                                          5 p. 155).                    data—or a printout or
                                                                                                               7                                        other representations of
                                                                                                                                                        such data—is barred by
                                                                                                               8                                        the best evidence rule.);
                                                                                                                                                        see also U.S. v. Rivera-
                                                                                                               9                                        Carrizosa, 35 F.3d 573, 2
                                                                                                                                                        (9th Cir. 1994) (holding
                                                                                                              10                                        that an agent’s testimony
                                                                                                                                                        regarding the content of a
                                                                                                              11                                        birth certificate violated
                                                                                                                                                        the “best evidence” rule
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                                                        [Fed.R.Evid. 1002],
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                                                                                        which states that “[t]o
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13                                        prove the content of a
                                                                                                                                                        writing … the original
                                                                                                              14                                        writing … is required,
                                                                                                                                                        except as provided in
                                                                                                              15                                        these rules or by Act of
                                                                                                                                                        Congress.”).
                                                                                                              16
                                                                                                                   17     Bingham Decl., ECF NO.        Improper Opinion             Sustained:
                                                                                                              17                                        Testimony (FRE 701-
                                                                                                                          49-5:                         703);                        Overruled:
                                                                                                              18
                                                                                                                          “As set forth in the          Lack of Foundation
                                                                                                              19                                        (FRE 901);
                                                                                                                          following excerpt of an
                                                                                                              20          audiotaped recording of the   Constitutes a Legal
                                                                                                                          February 4, 2014 City         Conclusion (FRE 704;
                                                                                                              21                                        see United States v.
                                                                                                                          Council meeting, for years    Boulware, 558 F.3d 971
                                                                                                              22          I and other members of        (9th Cir. 2009);
                                                                                                                          BCRG have raised
                                                                                                              23                                        Hearsay (FRE 805, 801-
                                                                                                                          concerns to the City          802);
                                                                                                              24          regarding the City’s
                                                                                                                          contract with ULC and the     Incomplete Evidence
                                                                                                              25                                        (FRE 106);
                                                                                                                          ULC Principals’ conflict of
                                                                                                              26          interest: [audio recording    Irrelevant (FRE 401-
                                                                                                                          excerpt omitted] (See         402);
                                                                                                              27          audio recording of April 4,
                                                                                                              28          2014 City Council
                                                                                                                                                                                5:20-CV-02164- GW (KKX)
                                                                                                                                                         - 16 -       REQUEST FOR EVIDENTIARY RULING
                                                                                                    Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 17 of 18 Page ID #:2326



                                                                                                               1   Obj.     Material Objected To          Grounds for Objection         Ruling on the
                                                                                                               2   No.                                                                   Objection
                                                                                                                          meeting, at                     Requirement of the
                                                                                                               3                                          Original (FRE 1002);
                                                                                                                          BEAUAIG0049060)…”               (see United States v.
                                                                                                               4                                          Bennett, 363 F.3d 947,
                                                                                                                          (Bingham Decl. ECF NO.          953-54 (9th Cir.
                                                                                                               5                                          2004)(holding that
                                                                                                                          49-5, at ECF 49-5 pp. 49-       testimony offered to
                                                                                                               6          50 lines 8-27 and 1-11          prove the content of
                                                                                                                          (¶21)).                         data—or a printout or
                                                                                                               7                                          other representations of
                                                                                                                                                          such data—is barred by
                                                                                                               8                                          the best evidence rule.);
                                                                                                                                                          see also U.S. v. Rivera-
                                                                                                               9                                          Carrizosa, 35 F.3d 573, 2
                                                                                                                                                          (9th Cir. 1994) (holding
                                                                                                              10                                          that an agent’s testimony
                                                                                                                                                          regarding the content of a
                                                                                                              11                                          birth certificate violated
                                                                                                                                                          the “best evidence” rule
                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                                                          [Fed.R.Evid. 1002],
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                                                                                          which states that “[t]o
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13                                          prove the content of a
                                                                                                                                                          writing … the original
                                                                                                              14                                          writing … is required,
                                                                                                                                                          except as provided in
                                                                                                              15                                          these rules or by Act of
                                                                                                                                                          Congress.”).
                                                                                                              16
                                                                                                                   18     Bingham Decl., ECF NO.          Improper Opinion             Sustained:
                                                                                                              17                                          Testimony (FRE 701-
                                                                                                                          49-5:                           703);                        Overruled:
                                                                                                              18
                                                                                                                          “As set forth in the            Lack of Foundation
                                                                                                              19                                          (FRE 901);
                                                                                                                          following except of an
                                                                                                              20          audiotaped recording of the     Constitutes a Legal
                                                                                                                          April 15, 2014 City             Conclusion. (FRE 704;
                                                                                                              21                                          see United States v.
                                                                                                                          Council meeting, I again        Boulware, 558 F.3d 971
                                                                                                              22          advised the City that,          (9th Cir. 2009);
                                                                                                                          ‘Urban Logic against has a
                                                                                                              23                                          Hearsay (FRE 805, 801-
                                                                                                                          conflict of interest and, and   802);
                                                                                                              24          they cannot be a consultant
                                                                                                                          on bonds when they are          Incomplete Evidence
                                                                                                              25                                          (FRE 106);
                                                                                                                          consultants to the City and
                                                                                                              26          profit from those bonds.’       Irrelevant (FRE 401-
                                                                                                                          (See audio recording of         402);
                                                                                                              27          April 15, 2014 of City
                                                                                                              28          Council meeting, at
                                                                                                                                                                                  5:20-CV-02164- GW (KKX)
                                                                                                                                                           - 17 -       REQUEST FOR EVIDENTIARY RULING
                                                                                                    Case 5:20-cv-02164-GW-KK Document 54-6 Filed 07/11/22 Page 18 of 18 Page ID #:2327



                                                                                                               1   Obj.     Material Objected To    Grounds for Objection        Ruling on the
                                                                                                               2   No.                                                            Objection
                                                                                                                          BEAUMONTAIG               Requirement of the
                                                                                                               3                                    Original (FRE 1002);
                                                                                                                          0296758.)”                (see United States v.
                                                                                                               4                                    Bennett, 363 F.3d 947,
                                                                                                                          (Bingham Decl. ECF NO.    953-54 (9th Cir.
                                                                                                               5                                    2004)(holding that
                                                                                                                          49-5, at ECF 49-5 p. 50   testimony offered to
                                                                                                               6          lines 812-16 (¶22)).      prove the content of
                                                                                                                                                    data—or a printout or
                                                                                                               7                                    other representations of
                                                                                                                                                    such data—is barred by
                                                                                                               8                                    the best evidence rule.);
                                                                                                                                                    see also U.S. v. Rivera-
                                                                                                               9                                    Carrizosa, 35 F.3d 573, 2
                                                                                                                                                    (9th Cir. 1994) (holding
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                                             18101 VON KARMAN AVENUE, SUITE 1000




                                                                                                                                                    [Fed.R.Evid. 1002],
BEST BEST & KRIEGER LLP




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                                                                                                                                                    which states that “[t]o
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                              13                                    prove the content of a
                                                                                                                                                    writing … the original
                                                                                                              14                                    writing … is required,
                                                                                                                                                    except as provided in
                                                                                                              15                                    these rules or by Act of
                                                                                                                                                    Congress.”).
                                                                                                              16
                                                                                                              17
                                                                                                              18   Dated: July 11, 2022                  BEST BEST & KRIEGER LLP
                                                                                                              19
                                                                                                              20                                         By: /s/ Jeffrey v. Dunn
                                                                                                                                                            JEFFREY V. DUNN
                                                                                                              21                                            CHRISTOPHER E. DEAL
                                                                                                                                                            DANIEL L. RICHARDS
                                                                                                              22
                                                                                                                                                              Attorneys for Plaintiffs
                                                                                                              23                                              Western Riverside Council of
                                                                                                                                                              Governments and City of Beaumont
                                                                                                              24
                                                                                                              25
                                                                                                              26
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                                                                                                                                                                            5:20-CV-02164- GW (KKX)
                                                                                                                                                     - 18 -       REQUEST FOR EVIDENTIARY RULING
